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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:21-cr-00244-001 (CKK)
       v.                                    :
                                             :
JERRY RYALS,                                 :
                                             :
               Defendant.                    :

                    GOVERNMENT’S SENTENCING MEMORANDUM

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Jerry Ryals (“Ryals”) to six months’ incarceration, three years of supervised

release, $2,000 in restitution, and the mandatory $100 special assessment.

I.     Introduction

       The defendant, Jerry Ryals, participated in the January 6, 2021, attack on the United

States Capitol—a violent attack that forced an interruption of the certification of the 2020

Electoral College vote count, threatened the peaceful transfer of power after the 2020

Presidential election, injured more than one hundred law enforcement officers, and resulted in

more than 2.7 million dollars in losses. 1

       On May 6, 2022, Ryals pleaded guilty to one count of violating 18 U.S.C. § 231(a)(3):

Civil Disorder. As explained herein, a sentence of six months’ imprisonment, with three years of

supervision to follow, is appropriate in this case because: (1) on his way up the stairs of the

       1
         As of April 5, 2022, the approximate losses suffered as a result of the siege at the
United States Capitol was $2,734,783.15. That amount reflects, among other things, damage to
the United States Capitol building and grounds and certain costs borne by the United States
Capitol Police.


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Capitol to break inside, Ryals clearly observed the Capitol Police officers attempting to defend

the building, and created a video with his cell phone in which he stated: “They are tear gassing,

throwing flash bangs, pepper spray, but we will not concede.”; (2) near the top of the stairs

outside of the Capitol, after police officers had been overrun and people began breaking inside of

the Capitol, Ryals filmed another cell phone video, this time stating: “We definitely have enough

people to overthrow this bitch. They don’t stand a fucking chance. We got the fucking doors

open up there, I guess. We’re working our way in slowly but surely.”; (3) Ryals illegally entered

through a side door and approached a locked office door just inside the entrance; (4) after

observing that the office door was locked, Ryals attempted to break down the door using his

shoulder, and was then joined by other rioters who broke through the door; (5) Ryals, after

remaining in the office for approximately 10 minutes, was forced out of the Capitol by police,

but shortly thereafter reentered the Capitol where he remained for 30 minutes walking to several

locations, including the Rotunda and the Crypt; (6) the next day, on January 7, Ryals posted a

statement on Facebook, calling himself a “patriot” and stating that the country was headed for

war.

       Owing to those substantial aggravating circumstances, the government recommends that

the Court sentence Ryals to six months’ incarceration, at the top of the advisory Guidelines’

range of 0-6 months, which the government submits is the correct Guidelines calculation. A six-

month sentence reflects the gravity of Ryals’ conduct.

       The Court must also consider that Ryal’s conduct on January 6, like the conduct of scores

of other defendants, took place in the context of a large and violent riot that relied on numbers to

overwhelm law enforcement, breach the Capitol, and disrupt the proceedings. But for his actions

alongside so many others, the riot likely would have failed. See United States v. Matthew



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Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a mob without the numbers.

The people who were committing those violent acts did so because they had the safety of

numbers.”) (statement of Judge Chutkan). Here, the defendant’s participation in a riot that

actually succeeded in halting the Congressional certification combined with the defendant’s

statements and subsequent actions renders a six-month sentence of imprisonment both necessary

and appropriate in this case.

II.    Factual Background

       A.       The January 6, 2021, Attack on the Capitol

       On January 6, 2021, hundreds of rioters, Ryals among them, unlawfully broke into the

U.S. Capitol Building in an effort to disrupt the peaceful transfer of power after the November 3,

2020, presidential election. Many rioters attacked and injured police officers, sometimes with

dangerous weapons; they terrified congressional staff and others on scene that day, many of

whom fled for their safety; and they ransacked this historic building—vandalizing, damaging,

and stealing artwork, furniture, and other property.       Although the facts and circumstances

surrounding the actions of each rioter who breached the U.S. Capitol and its grounds differ, each

rioter’s actions were illegal and contributed, directly or indirectly, to the violence and destruction

that day.

       As set forth in the PSR and the Statement of Offense incorporated into Ryals’s plea

agreement, a joint session of Congress had convened at approximately 1:00 p.m. at the U.S.

Capitol. Members of the House of Representatives and the Senate were meeting in separate

chambers to certify the vote count of the Electoral College of the November 3, 2020, Presidential

election. By approximately 1:30 p.m., the House and Senate adjourned to separate chambers to




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resolve a particular objection. Vice President Mike Pence was present and presiding, first in the

joint session, and then in the Senate chamber.

        As the proceedings continued, a large crowd gathered outside the U.S. Capitol.

Temporary and permanent barricades were in place around the exterior of the building, and U.S.

Capitol Police were present and attempting to keep the crowd away from the building and the

proceedings underway inside. At approximately 2:00 p.m., certain individuals forced their way

over the barricades and past the officers, and the crowd advanced to the exterior of the building.

Members of the crowd did not submit to standard security screenings or weapons checks by

security officials.

        The vote certification proceedings were still underway, and the exterior doors and

windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol

Police attempted to keep the crowd from entering; however, shortly after 2:00 p.m., individuals

in the crowd forced their way in, breaking windows and assaulting law enforcement officers

along the way, while others in the crowd cheered them on.

        At approximately 2:20 p.m., members of the House of Representatives and the Senate,

including the President of the Senate, Vice President Pence, were forced to evacuate the

chambers.     All proceedings, including the joint session, were effectively suspended.       The

proceedings resumed at approximately 8:00 p.m. after the building had been secured. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the session resumed.




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       B.      Injuries and Property Damage Caused by the January 6, 2021, Attack

       The D.C. Circuit has observed that “the violent breach of the Capitol on January 6 was a

grave danger to our democracy.” United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir.

2021). Members of this Court have similarly described it as “a singular and chilling event in

U.S. history, raising legitimate concern about the security—not only of the Capitol building—but

of our democracy itself.” United States v. Cua, No. 21-cr-107, 2021 WL 918255, at *3 (D.D.C.

Mar. 10, 2021) (Judge Moss); see also United States v. Foy, No. 21-cr-108 (D.D.C. June 30,

2021) (Doc. 41, Hrg. Tr. at 14) (“This is not rhetorical flourish. This reflects the concern of my

colleagues and myself for what we view as an incredibly dangerous and disturbing attack on a

free electoral system.”) (Judge Chutkan); United States v. Chrestman, 535 F. Supp. 3d 14, 25

(D.D.C. 2021) (“The actions of this violent mob, particularly those members who breached

police lines and gained entry to the Capitol, are reprehensible as offenses against morality, civic

virtue, and the rule of law.”) (Chief Judge Howell); United States v. Matthew Mazzocco, 1:21-cr-

00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a mob without the numbers. The people who

were committing those violent acts did so because they had the safety of numbers.”) (Judge

Chutkan).

       In addition, the rioters injured more than a hundred members of law enforcement. See

Staff of Senate Committees on Homeland Security and Governmental Affairs and on Rules and

Administration Report, Examining the Capitol Attack: A Review of the Security, Planning, and

Response     Failures    on    January      6    (June   7,   2021),   at    29,    available    at

https://www.hsgac.senate.gov/imo/media/doc/HSGAC&RulesFullReport_ExaminingU.S.Capitol

Attack.pdf (describing officer injuries).       Some of the rioters wore tactical gear and used




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dangerous weapons and chemical irritants during hours-long hand-to-hand combat with law

enforcement officers. See id. at 27-30.

         Moreover, the rioters inflicted significant emotional injuries on law enforcement officers

and others on scene that day who feared for their safety. See id; see also Architect of the

Capitol, J. Brett Blanton, Statement before the House of Representatives Committee on House

Administration (May 19, 2021), available at https://www.aoc.gov/sites/default/files/2021-

05/AOC_Testimony_CHA_Hearing-2021-05-19.pdf (describing the stress suffered by Architect

of the Capitol employees due to the January 6, 2021, attack).

         Finally, the rioters stole, vandalized, and destroyed property inside and outside the U.S.

Capitol Building. They caused extensive, and in some instances, incalculable, losses. This

included wrecked platforms, broken glass and doors, graffiti, damaged and stolen sound systems

and photography equipment, broken furniture, damaged artwork, including statues and murals,

historic lanterns ripped from the ground, and paint tracked over historic stone balustrades and

Capitol Building hallways. See id; see also United States House of Representatives Curator

Farar Elliott, Statement Before the House Appropriations Subcommittee on the Legislative

Branch               (Feb.             24,             2021),              available             at

https://docs.house.gov/meetings/AP/AP24/20210224/111233/HHRG-117-AP24-Wstate-ElliottF-

20210224.pdf (describing damage to marble and granite statues).            The attack resulted in

substantial damage to the U.S. Capitol, resulting in losses of more than 2.7 million dollars.

         C.     Ryals’ Role in the January 6, 2021, Attack on the Capitol

         Jerry Ryals participated in the January 6 attack on the Capitol.          His crimes are

documented through his own cell phone video recordings and photos, open-source video, and

surveillance footage from inside the Capitol.

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       On January 5, 2021, Ryals and two other men, 2 traveled from their homes in Oklahoma

to a hotel outside of Washington D.C. The next morning, on January 6, 2021, Ryals and his

travel companions traveled to Washington D.C. to attend the “Stop the Steal” rally. For the rally,

Ryals wore a charcoal-colored jacket, blue jeans, and a red “2020 TRUMP” hat.




                                                 Exhibit 1

       After attending the former President’s rally, Ryals walked to the United States Capitol.




                                                 Exhibit 2

       2
         One of the men, Anthony Griffith, is separately charged in Case No. 21-CR-244-002
with four misdemeanor counts.
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       Prior to heading up the stairs at the Upper West Terrace, Ryals filmed a nine-second cell

phone video showing other rioters on the terrace. In the video, Ryals stated; “They are tear

gassing, throwing flash bangs, pepper spray, but we will not concede.” Ryals then headed up the

stairs towards the Capitol building. Near the top, Ryals filmed a ten-second cell phone video

showing numerous rioters in front of the Capitol, with some attempting to enter. In the video,

Ryals stated: “We definitely have enough people to overthrow this bitch. They don’t stand a

fucking chance. We got the fucking doors open up there, I guess. We’re working our way in

slowly but surely.”

       At approximately 2:42 pm, as shown in Exhibit 3.1, below, rioters broke open the

northwest side door entrance to the Capitol, forcing five Capitol Police Officers back, and

assaulting some of them on the way in.




                                            Exhibit 3.1

       Forty seconds later, at approximately 2:43 pm, Ryals entered the Capitol through the

northwest side doors. (Exhibit 3.2. Ryals is the person inside the red rectangle in the following

photographs).


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                                            Exhibit 3.2

       Once inside, Ryals milled around the hallway entrance and observed another rioter

(inside the yellow rectangle) attempting to open a locked office to his left utilizing an entrance

sign as a battering ram. (Exhibit 3.3).




                                            Exhibit 3.3




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       The rioter failed to penetrate the door and departed. Ryals then attempted to use his

shoulder to break through the office door. When that failed, he picked up the same entrance sign

for use as a battering ram. Ryals’s attempts managed to break off the base of the sign.




                                            Exhibit 3.4




                                            Exhibit 3.5




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                                             Exhibit 3.6

       Despite the sign breaking, Ryals continued to try and utilize his shoulder in breaking

down the door, this time joined by five other men. Using their combine force and weight, the

rioters were able to break through the doors and enter the office space.




                                             Exhibit 3.7

       The office the rioters entered was, thankfully, unoccupied. While inside, Ryals took a

photo of himself enjoying a seat. (Exhibit 4).

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                                          Exhibit 4

       After approximately two-and-a-half minutes, Ryals emerged from the office, but

remained in the hallway. (Exhibit 3.8).




                                          Exhibit 3.8




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       Prior to exiting out the entry doors, Ryals took some time to capture more video on his

cell phone. (Exhibit 3.9). Ryals left approximately 11 minutes after he had entered.




                                             Exhibit 3.9

       Ryals, however, didn’t leave the Capitol premises. Instead, Ryals reentered the Capitol

through the Senate Wing doors approximately 18 minutes after those doors had been breached by

the mob, and just over ten minutes after Ryals exited the northwest side doors. (Exhibit 5.1).




                                             Exhibit 5.1




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       Once inside, Ryals made his way toward the line of police officers guarding one of the

wings in an attempt to get a handshake. (Exhibit 5.2). The officers refused.




                                            Exhibit 5.2

       Ryals then headed off into the depths of the Capitol, (Exhibit 5.3), walking through

several areas on multiple floors, including the Rotunda and the Crypt.             Ryals spent

approximately 30 minutes inside the Capitol after his reentry before exiting (Exhibit 9), taking

photos and video while inside.




                                            Exhibit 5.3



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                            Exhibit 6




                            Exhibit 7




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                                             Exhibit 8

       After leaving the Capitol, Ryals and the other individuals he arrived with stayed around

the Capitol outskirts until approximately 6:30pm when they returned to their hotel in Virginia.




                                             Exhibit 9

       The next day, on January 7, 2021, Ryals and the others drove back to their homes in

Oklahoma. At some point that day, Ryals posted the following message on Facebook:




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                                           Exhibit 10

      In pleading guilty, Ryals admitted that his actions at the U.S. Capitol Building on January

6, 2021, impeded and interfered with law enforcement officers engaged in official duties,


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including, but not limited to, the protection and security of the United States Capitol. Ryals also

admitted that on January 6, 2021, on the grounds of the United States Capitol, numerous law

enforcement officers with the Capitol Police were engaged in the performance of federally

protected functions during the commission of a civil disorder – namely, a riot. Ryals admitted

that the civil disorder on January 6, 2021, obstructed and adversely affected the Capitol Police’s

performance of those federally protected functions.

                                The Charges and Plea Agreement

       On February 22, 2021, the United States Attorney’s Office for the District of Columbia

charged Ryals in a five-count complaint with violating 18 U.S.C. § 1512(c)(2), 18 U.S.C.

§§ 1752(a)(1) and (2) and 40 U.S.C. §§ 5104(e)(2). On May 6, 2022, he pleaded guilty to a one-

count felony Information, charging him with a violation of 18 U.S.C.            § 231(a)(3), Civil

Disorder. By plea agreement, Ryals agreed to pay $2000 in restitution to the Department of the

Treasury.

III.   Statutory Penalties

       Ryals now faces a sentencing on a single count of 18 U.S.C. § 231(a)(3). As noted by the

plea agreement and the U.S. Probation Office, Ryals faces up to 5 years of imprisonment,

supervised release of up to 3 years, and a fine of up to $250,000. Ryals must also pay restitution

under the terms of his plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson,

545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

IV.    The Sentencing Guidelines and Guidelines Analysis

       As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines



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should be the starting point and the initial benchmark” for determining a defendant’s sentence.

Id. at 49. The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the

product of careful study based on extensive empirical evidence derived from the review of

thousands of individual sentencing decisions” and are the “starting point and the initial

benchmark” for sentencing. Id. at 49.

       The government agrees with the Sentencing Guidelines calculation set forth in the final

PSR, with both parties in agreement on the total offense level. See PSR at ¶ 87. According to

the PSR, the U.S. Probation Office calculated the adjusted offense level under the Sentencing

Guidelines as follows:

       Base Offense Level (U.S.S.G. §2A2.4(a))                                    10
       Acceptance of Responsibility (USSG §3E1.1(a))                              -2
       Total Adjusted Offense Level                                                8

See PSR at ¶¶ 38-48.

       The U.S. Probation Office calculated Ryals’s criminal history as a category I, which the

parties do not dispute. See PSR at ¶ 51. Accordingly, the parties believe Ryals’s total adjusted

offense level, after acceptance, is 8, and his corresponding Guidelines imprisonment range is 0-6

months. Ryals’s plea agreement contains an agreed-upon Guidelines range calculation that

mirrors Probation’s calculation.

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita, 551

U.S. at 349. As required by Congress, the Commission has “‘modif[ied] and adjust[ed] past

practice in the interests of greater rationality, avoiding inconsistency, complying with

congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007);



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28 U.S.C. § 994(m). In so doing, the Commission “has the capacity courts lack to ‘base its

determinations on empirical data and national experience, guided by professional staff with

appropriate expertise,’” and “to formulate and constantly refine national sentencing standards.”

Kimbrough, 552 U.S. at 108. Accordingly, courts must give “respectful consideration to the

Guidelines.” Id. at 101. As the Third Circuit has stressed:

               The Sentencing Guidelines are based on the United States
               Sentencing Commission’s in-depth research into prior sentences,
               presentence investigations, probation and parole office statistics,
               and other data. U.S.S.G. §1A1.1, intro, comment 3. More
               importantly, the Guidelines reflect Congress’s determination of
               potential punishments, as set forth in statutes, and Congress’s
               on-going approval of Guidelines sentencing, through oversight of
               the Guidelines revision process. See 28 U.S.C. § 994(p) (providing
               for Congressional oversight of amendments to the Guidelines).
               Because the Guidelines reflect the collected wisdom of various
               institutions, they deserve careful consideration in each case.
               Because they have been produced at Congress's direction, they
               cannot be ignored.

United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that significantly increases the likelihood that the sentence is a reasonable

one.”   Rita, 551 U.S. at 347 (emphasis in original).         In other words, “the Commission’s

recommendation of a sentencing range will ‘reflect a rough approximation of sentences that

might achieve § 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

        Here, while the Court must balance all of the § 3553 factors to fashion a just and

appropriate sentence, the Guidelines, as agreed to, in part, by the parties, unquestionably provide

the most helpful benchmark. As this Court knows, the government has charged a considerable

number of persons with crimes based on the January 6 riot. This includes hundreds of felonies



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and misdemeanors that will be subjected to Guidelines analysis. In order to reflect Congress’s

will—the same Congress that served as a backdrop to this criminal incursion—the Guidelines

will be a powerful driver of consistency and fairness moving forward.

V.     Sentencing Factors Under 18 U.S.C. § 3553(a)

       In this case, sentencing is also guided by 18 U.S.C. § 3553(a), which identifies the factors

a court must consider in formulating the sentence. Some of those factors include: the nature and

circumstances of the offense, § 3553(a)(1); the history and characteristics of the defendant, id.;

the need for the sentence to reflect the seriousness of the offense and promote respect for the law,

§ 3553(a)(2)(A); the need for the sentence to afford adequate deterrence, § 3553(a)(2)(B); and

the need to avoid unwarranted sentence disparities among defendants with similar records who

have been found guilty of similar conduct. § 3553(a)(6). In this case, as described below, all of

the Section 3553(a) factors weigh in favor of a significant term of incarceration.

           A. The Nature and Circumstances of the Offense

       The attack on the U.S. Capitol, on January 6, 2021, is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was the one

of the only times in our history when the building was literally occupied by hostile participants.

By its very nature, the attack defies comparison to other events.

       While each defendant should be sentenced based on their individual conduct, as we now

discuss, this Court should note that each person who entered the Capitol on January 6 without

authorization did so under the most extreme of circumstances. As they entered the Capitol, they

would—at a minimum—have crossed through numerous barriers and barricades and heard the

throes of a mob. Depending on the timing and location of their approach, they also may have




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observed extensive fighting with law enforcement officials and smelled chemical irritants in the

air. No rioter was a mere tourist that day.

       Additionally, while looking at Ryals’s individual conduct, this Court should look to a

number of critical factors, to include: (1) whether, when, how the defendant entered the Capitol

building; (2) whether the defendant encouraged violence; (3) whether the defendant encouraged

property destruction; (4) the defendant’s reaction to acts of violence or destruction; (5) whether

during or after the riot, the defendant destroyed evidence; (6) the length of the defendant’s time

inside of the building, and exactly where the defendant traveled; (7) the defendant’s statements

in person or on social media; (8) whether the defendant cooperated with, or ignored commands

from law enforcement officials; and (9) whether the defendant demonstrated sincere remorse or

contrition. While these factors are not exhaustive nor dispositive, they help to place each

defendant on a spectrum as to their fair and just punishment.

       Ryals came to Washington D.C. on a mission – to disrupt the peaceful transfer of power

after the 2020 Presidential election.         In so doing, and step-by-step along the way, he

demonstrated little regard for the law, the officers charged with safeguarding the United States

Capitol Building, or the people who work inside of it.

       On January 6, 2021, Ryals was part of a violent mob that assaulted police officers, and

proudly stormed the Capitol to obstruct lawmakers as they certified the 2020 election.

Bolstering this contention is the fact that once inside the Capitol, Ryals helped break open an

office door, presumably looking for something or someone to aid him in disrupting the

certification, or worse. Furthermore, in total, Ryals stayed within the Capitol for over 35

minutes, going from location to location, floor to floor.




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          Then, in the day that followed, Ryals championed his actions, and the actions of the

other rioters, on Facebook, declaring himself and the other “patriots” and freedom fighters.

       Accordingly, the nature and the circumstances of this offense establish the clear need for

a sentence of incarceration in this matter.

             B. Ryals’ History and Characteristics

       As set forth in the PSR, Ryals does not have any prior arrests or convictions.

             C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
                and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds was an attack on the rule of law.

“The violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.” 3 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of

the January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr.

08/24/21 at 3 (“As to probation, I don't think anyone should start off in these cases with any

presumption of probation. I think the presumption should be that these offenses were an attack

on our democracy and that jail time is usually -- should be expected”) (statement of Judge

Hogan).

             D. The Need for the Sentence to Afford Adequate Deterrence

       Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this




       3
          Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),    available     at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20Testimony.pdf
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defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

                                       General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for

nearly every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be

the most compelling reason to impose a sentence of incarceration. For the violence at the

Capitol on January 6 was cultivated to interfere, and did interfere, with one of the most important

democratic processes we have: the peaceful transfer of power to a newly elected President. As

noted by Judge Moss during sentencing, in United States v. Paul Hodgkins, 21-cr-188-RDM:

         [D]emocracy requires the cooperation of the governed. When a mob is prepared
         to attack the Capitol to prevent our elected officials from both parties from
         performing their constitutional and statutory duty, democracy is in trouble. The
         damage that [the defendant] and others caused that day goes way beyond the
         several-hour delay in the certification. It is a damage that will persist in this
         country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was

seven months ago for the United States and our diplomats to convince other nations to pursue

democracy. It means that it will be harder for all of us to convince our children and our

grandchildren that democracy stands as the immutable foundation of this nation.” Id. at 70; see

United States v. Thomas Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges on

this court have recognized, democracy requires the cooperation of the citizenry. Protesting in the

Capitol, in a manner that delays the certification of the election, throws our entire system of

government into disarray, and it undermines the stability of our society. Future would-be rioters

must be deterred.”) (statement of Judge Nichols at sentencing).

         The gravity of these offenses demands deterrence. This was not a protest. See United

States v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument

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can be made defending what happened in the Capitol on January 6th as the exercise of First

Amendment rights.”) (statement of Judge Moss). And it is important to convey to future

potential rioters—especially those who intend to improperly influence the democratic process—

that their actions will have consequences. There is possibly no greater factor that this Court must

consider.

                                       Specific Deterrence

       Though Ryals has expressed remorse since his actions on January 6, 2021, Ryals’s

statements on social media, as well as his actions during the riot, demonstrate the need for

specific deterrence for this defendant.   Ryals engaged in a course of conduct that numerous

other Capitol riot defendants did not – he helped break down an office door within the Capitol.

This is no “ordinary” Capitol riot defendant. As time goes on, there will, inevitably, be political

statements, occurrences, and events, for which Ryals will hold a difference of opinion. Ryals

must face consequences for his crime here so that it will not happen again.

            E. The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v.

United States, 551 U.S. 338, 349 (2007).       As required by Congress, the Commission has

“‘modif[ied] and adjust[ed] past practice in the interests of greater rationality, avoiding

inconsistency, complying with congressional instructions, and the like.’” Kimbrough v. United

States, 552 U.S. 85, 96 (2007); 28 U.S.C. § 994(m). In so doing, the Commission “has the

capacity courts lack to ‘base its determinations on empirical data and national experience, guided

by professional staff with appropriate expertise,’” and “to formulate and constantly refine


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national sentencing standards.” Kimbrough, 552 U.S. at 108. Accordingly, courts must give

“respectful consideration to the Guidelines.” Id. at 101. As the Third Circuit has stressed:

        The Sentencing Guidelines are based on the United States Sentencing
        Commission’s in-depth research into prior sentences, presentence investigations,
        probation and parole office statistics, and other data. U.S.S.G. §1A1.1, intro,
        comment 3. More importantly, the Guidelines reflect Congress’s determination of
        potential punishments, as set forth in statutes, and Congress’s on-going approval
        of Guidelines sentencing, through oversight of the Guidelines revision process.
        See 28 U.S.C. § 994(p) (providing for Congressional oversight of amendments to
        the Guidelines). Because the Guidelines reflect the collected wisdom of various
        institutions, they deserve careful consideration in each case. Because they have
        been produced at Congress's direction, they cannot be ignored.
United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that Asignificantly increases the likelihood that the sentence is a reasonable

one.”   Rita, 551 U.S. at 347 (emphasis in original).       In other words, “the Commission’s

recommendation of a sentencing range will ‘reflect a rough approximation of sentences that

might achieve § 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

        Here, while the Court must balance all of the § 3553 factors to fashion a just and

appropriate sentence, the Guidelines unquestionably provide the most helpful benchmark. As

this Court knows, the government has charged a considerable number of persons with crimes

based on the January 6 riot. This includes hundreds of felonies and misdemeanors that will be

subjected to Guidelines analysis. In order to reflect Congress’s will—the same Congress that

served as a backdrop to this criminal incursion—the Guidelines will be a powerful driver of

consistency and fairness moving forward




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           F. The Need to Avoid Unwarranted Sentencing Disparities

       Finally, as to 18 U.S.C. § 3553(a)(6)—the need to avoid unwarranted sentencing

disparities—the crimes that Ryals and others like him committed on January 6 are

unprecedented. These crimes defy statutorily appropriate comparisons to obstruction-related

conduct in other cases. To try to mechanically compare other § 231 defendants prior to January

6, 2021, would be a disservice to the magnitude of what the riot entailed and signified. Ryals is

among the first wave of Capitol Riot defendants to plead guilty and be sentenced for a single

count of 18 U.S.C. § 231(a)(3). The Court may consider, for reference, the sentences imposed

on Daniel and Darryl Johnson, 21-cr-407 (DLF), who were each sentenced on single counts of

§ 231(a)(3). Like Ryals, the Johnsons—a father (Daryl) and son (Daniel)—participated in the

storming of the Rotunda Doors, but the Johnsons were part of a larger mob of rioters assaulting

police guarding those doors from the inside. Here, Ryals had no qualms breaking down a door

within the Capitol in his hunt for whatever he was looking for.

       Additionally, while Daryl Johnson made chilling statements on social media about the

riot, so did Ryals. Daniel Johnson, who had a higher Guidelines range than his father due to his

elevated criminal history category, was sentenced to four months’ incarceration. Daryl Johnson

was sentenced to 30 days’ incarceration. A sentence of six months’ incarceration for Ryals

would not result in an unwarranted sentencing disparity for Capitol Riot defendants sentenced

for violations of 18 U.S.C. § 231(a)(3).

       This Court may also consider the sentence imposed on Nolan Cooke, 22-cr-52 (RCL).

Cooke, like Ryals, pleaded guilty to a single count of violating 18 U.S.C. § 231(a)(3). While

Cooke did not enter the Capitol building—which mitigates the nature and circumstances of his

offense—he much more directly engaged with police officers both at the bike rack barriers and



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near the Rotunda Doors, subjecting him to an additional three points for “physical contact” under

the Sentencing Guidelines. See U.S.S.G. 2A2.4(b)(1)(A). Thus, Cooke faced a higher Guidelines

range—8-14 months as opposed to Ryals’s 0-6 months. Cooke ultimately received a sentence of

366 days incarceration. Again, a sentence of six months’ incarceration for Ryals would not

result in an unwarranted sentencing disparity for Capitol Riot defendants sentenced for violations

of 18 U.S.C. § 231(a)(3).

VI.    Conclusion

       Sentencing requires the Court to carefully balance the § 3553(a) factors. As explained

herein, some of those factors support a sentence of incarceration and some support a more lenient

sentence. Balancing these factors, the government recommends that this Court sentence Jerry

Ryals to six months’ incarceration, three years of supervised release, and $2000 in restitution.

Such a sentence protects the community, promotes respect for the law, and deters future crime by

imposing restrictions on his liberty as a consequence of his behavior, while recognizing his

acceptance of responsibility.

                                             Respectfully submitted,

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